                                      CASE 0:21-cr-00173-WMW-DTS Doc. 7 Filed 08/12/21 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )             COURTROOM MINUTES - CRIMINAL
                                                             )               BEFORE: BECKY R. THORSON
                                          Plaintiff,         )                   U.S. Magistrate Judge
                                                             )
   v.                                                        )     Case No:              21-cr-173 WMW/DTS
                                                             )     Date:                 August 12, 2021
 Anton Joseph Lazzaro,                                       )     Video Conference
                                                             )     Time Commenced:       1:41 p.m. / 1:56 p.m.
                                          Defendant,         )     Time Concluded:       1:52 p.m. / 2:03 p.m.
                                                                   Time in Court:        18 minutes


APPEARANCES:
   Plaintiff: Laura Provinzino, Assistant U.S. Attorney
   Defendant: Zachary Newland & Hillary Parsons,
                    X Retained (in progress)    X Local Counsel

   Date Charges Filed: 8/11/2021                            Offense: conspiracy to commit sex trafficking of minors; aiding and
                                                                                  abetting sex trafficking of a minor; attempted
                                                                                  sex trafficking of a minor
   X Advised of Rights

on          X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is August 16, 2021 at 2:30 p.m., location TBD, before U.S. Magistrate Judge Hildy Bowbeer
for:
  X Detention hrg       X Arraignment hrg


X Government moves to unseal the case.                      X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                        s/SAE
                                                                                                    Signature of Courtroom Deputy




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